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     Attorney at Law
 2   2300 Tulare Street, Suite 230
     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, ROBERT JOHNSON
 5
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                           EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,   )               CASE NO. 05-00391 OWW
                                 )
 9        Plaintiff,             )
                                 )               STIPULATION AND
10       v.                      )               PROPOSED ORDER
                                 )
11   ROBERT JOHNSON,             )
                                 )
12               Defendant.      )
     ____________________________)
13
           The parties hereto, by and through their respective attorneys, stipulate and
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     agree that the status conference currently scheduled for April 16, 2007 be
15
     continued until May 21, 2007 at 9:00 a.m. in the above-entitled court.
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           This request is necessary based on continuance of Mr. Johnson’s pending
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     criminal action in Kern County. Information provided to defense counsel revealed
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     that Mr. Johnson’s state court trial was continued, over Mr. Johnson’s objection,
19
     to April 23, 2007. The additional time agreed to by the parties will allow defense
20
     counsel for Mr. Johnson, in the instant action, to obtain information regarding the
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     outcome of the state jury trial upon his return from vacation on May 18, 2007.
22
           The parties also agree that any delay resulting from this continuance shall
23
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
24
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
25
26   DATED: April 11, 2007               /s/ Stanley Boone
                                         STANLEY BOONE
27                                       Assistant United States Attorney
                                         This was agreed to by Mr. Boone
28                                       via telephone, on April 11, 2007

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 1
 2   DATED: April 11, 2007             /s/ Roger K. Litman
                                       ROGER K. LITMAN
 3                                     Attorney for Defendant
                                       ROBERT JOHNSON
 4
 5   DATED: April 11, 2007             /s/ Anthony Capozzi
                                       ANTHONY CAPOZZI
 6                                     Attorney for Defendant
                                       AMINAH RANDLE
 7                                     This was agreed to by Mr. Capozzi
                                       via telephone, on April 11, 2007
 8
 9
     IT IS SO ORDERED.
10
     Dated: April 12, 2007                 /s/ Oliver W. Wanger
11   emm0d6                           UNITED STATES DISTRICT JUDGE
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